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                         IN THE UNITED STATES DISTRICT COURT

                       FOR THE SOUTHERN DISTRICT OF GEORGIA

                                      AUGUSTA DIVISION




UNITED STATES OF AMERICA

       VS.                                     * CRIMINAL ACTION NO . 105-47

SEVEROS. DELATORRE




                                          ORDE R


       IT IS HEREBY ORDERED that due to the nature of Government 's Exhibit 1 ,

which was submitted by the Government during the jury t rial in the above captioned case, the

stated exhibit is to be retu rned to counsel for the United States of America for safekeepin g

or production in the Cou rt of Appeals , if necessary.

       SO ORDERED this 17t' day of November, 2006 .




                                              DUDLEY H . BON, JR., JUDGE
                                              UNITED STATES DISTRICT COUR T
